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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




Tristan Grogan,

                                  Plaintiff(s),
v.                                                    Case No. 2:17−cv−12736−RHC−RSW
                                                      Hon. Robert H. Cleland
Merchants & Medical Credit,

                                  Defendant(s),



                                     NOTICE OF REMAND

TO: 71A District Court



     Enclosed are certified copies of the Order of Remand and this Court's docket sheet.

  Please acknowledge receipt of these documents by returning a time−stamped copy of this
Notice to:

                    Clerk's Office
                    U.S. District Court for the Eastern District of Michigan
                    231 W. Lafayette Boulevard, 5th Floor
                    Detroit, Michigan 48226
                    (313) 234−5005



                                     Certificate of Service

   I hereby certify that on this date a copy of the foregoing notice was served upon the parties
and/or counsel of record herein by electronic means or first class U.S. mail.

                                                  DAVID J. WEAVER, CLERK OF COURT


                                              By: s/D. Peruski
                                                  Deputy Clerk

Dated: November 2, 2017
